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UNITED STATES DISTRICT COURT FOR THE
Northern District OF NEW YORK
---------------------------------------------------------------------------------x Civil Action No.:
Freedom Mortgage Corporation,

                                                      Plaintiff,                        COMPLAINT

            -against-                                                             3:22-cv-01209 (GTS/ML)

Joshua P. Burke and "JOHN DOE #1" through "JOHN DOE #10", the
last ten names being fictitious and unknown to the plaintiff, the person or
parties intended being the persons or parties, if any, having or claiming an
interest in or lien upon the Mortgage premises described in the Complaint,

                                                       Defendants.
------------------------------------------------------------------------------x

       Plaintiff, by its attorneys, Frenkel, Lambert, Weiss, Weisman & Gordon, LLP, complaining of the
defendants herein respectfully allege, upon information and belief, as follows:

                                                 INTRODUCTION

       1.      This action is brought pursuant to New York Real Property Actions and
Proceeding Law (RPAPL) Article 13, to foreclose on a Mortgage encumbering 23 Howard Avenue,
Binghamton, NY 13904, together with the land, buildings, and other improvements located on the
Property ("Property"). The legal description is attached as Schedule A.

                                                     PARTIES

        2.       Freedom Mortgage Corporation, is incorporated under the laws of the State of New
Jersey with its principal place of business at 907 Pleasant Valley Avenue, Suite 3, Mount Laurel, NJ
08054. Plaintiff is the owner and holder of the subject Note and Mortgage or has been delegated the
authority to institute this Mortgage foreclosure action by the owner and holder of the subject Note and
Mortgage.

         3.       Upon information and belief all the defendants herein have or claim to have some
interest in or lien upon said mortgaged premises or some part thereof which interest or lien, if any, has
accrued subsequent to the lien of plaintiff's mortgage, or has been paid or equitably subordinated to
plaintiff's mortgage, or been duly subordinated thereto. The reason for naming said defendants is set
forth in Schedule B that is attached to this complaint



                                    STATEMENT OF JURISDICTION
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        4.      Federal subject matter jurisdiction exists pursuant to 28 USC §1332 because
complete diversity exists among the Plaintiff and the Defendants and the amount in controversy,
without interest and costs, exceeds the $75,000.00.

                                               VENUE

         5.     Venue is proper pursuant to 28 USC §1391 because the Property is located in this
District and a substantial part of events and omissions giving rise to this action occurred in this
District.

                           AS AND FOR FIRST CAUSE OF ACTION

        6.     On or about August 10, 2018, the defendants, Joshua P. Burke executed and
delivered to Movement Mortgage, LLC a note whereby he promised to pay $96,531.00, plus interest
on the unpaid amount due. A copy of the note is attached as Schedule C.

       7.      On or about August 10, 2018, Joshua P. Burke executed and delivered to Mortgage
Electronic Registration Systems, Inc., as mortgagee, as nominee for Movement Mortgage, LLC, its
successors and assigns a mortgage (hereinafter "mortgage") in the principal sum of $96,531.00 which
was duly recorded in the Office of the Clerk of the County of Broome on November 06, 2018 in
Book M3889, Page 1307 and the recording tax was duly paid. A copy of the Mortgage is attached as
Schedule D.

        8.     Thereafter, an assignment from Mortgage Electronic Registration Systems, Inc., as
mortgagee, as nominee for Movement Mortgage, LLC, its successors and assigns to Roundpoint
Mortgage Servicing Corporation was executed June 14, 2019 and recorded on June 21, 2019 in Book
M3915 Page 740. Thereafter, an assignment from Roundpoint Mortgage Servicing Corporation to
Freedom Mortgage Corporation was executed on November 24, 2020 and recorded on November 30,
2020 in Book M3984 Page 1261. A copy of the Assignment of Mortgage is attached as Schedule E.

      9. Joshua P. Burke failed to make payment in accordance with the terms of the Note and
Mortgage by not making the payment that was due on February 01, 2020 and subsequent payments.

       10.     There is now due and owing on the Note and Mortgage in the following amounts:

                       Principal balance $94,700.03
                       Interest Rate 5.2500%
                       Date Interest Accrues from: January 01, 2020

together with late charges, monies advanced for taxes, assessments, insurance, maintenance and
preservation of the Property, and the cost, allowances, expenses of sale, and reasonable attorney's
fees for the foreclosure.
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         11.    In order to protect the value of the Property and its rights in the Property, the
Plaintiff may have to pay taxes, assessments, water charges, insurance premiums, and other charges.
Plaintiff requests that any amount it pays, together with interest, be included in the total amount due.

        12.      Plaintiff has complied with the notice provisions of the Mortgage and RPAPL
Section 1304 and filed the information required by RPAPL Section 1306. The Mortgage was
originated in compliance with al provisions of Section 595-a of the New York Bank Law and any
rules or regulations promulgated thereunder, and, if applicable, Sections 6-1 or 6-m of the Banking
Law.

         13.    No action was brought to recover any part of the Mortgage debt or if any such
action is pending final judgment for Plaintiff was not rendered and it is the intent of the Plaintiff to
discontinue it.

                        AS AND FOR SECOND CAUSE OF ACTION

       14.     The plaintiff repeats and realleges each and every allegation contained in paragraphs
designated 1 through 13.

         15.    The mortgage provides that in the event of default, the plaintiff may recover all
costs, including reasonable attorneys' fees, disbursements, and allowances provided by law in bringing
any action to protect its interest in the premises, including foreclosure of the mortgage.


WHEREFORE, PLAINTIFF DEMANDS:

a.      Judgement accelerating the maturity of the debt and determining the amount due Plaintiff for
        principal, interest, late charges, taxes, assessments, insurance, maintenance and preservation
        of the Property and other similar charges, together with costs, allowances, expenses of sale,
        reasonable attorney's fees, all with interest;
b.      A referee be appointed to sell the Property at auction to the highest bidder, in accordance with
        RPAPL Article 13.
c.      The interest of the defendant(s) and all persons claiming by or through them be foreclosed and
        their title, right, claim, lien, interest or equity of redemption to the Property be forever
        extinguished;
d.      The Plaintiff be paid our of the sale proceeds the amounts due for principal, interest, late
        charges, taxes, assessments, insurance, maintenance and preservation of the Property and
        other similar charges, together with costs, allowances, expenses of sale, reasonable attorney's
        fees, all with interest and that the sale proceeds be distributed in accordance with RPAPL
        Article 13.
e.      The property be sold in as is condition, subject to the facts an inspection or accurate survey of
        the Property would disclose, covenants, restrictions, easements and public utility agreements
        of record, building and zoning ordinances and violations, and the equity of redemption of the
        United States of America;
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f.    Plaintiff may purchase the Property at the sale;
g.    A receiver be appointed for the Property, if requested by Plaintiff
h.    A deficiency judgment against Joshua P. Burke, to the extent allowed by law, for the amount
      that remains due after distribution of the sale proceeds, unless the debt was discharged in a
      bankruptcy or is otherwise uncollectible, be granted if requested by Plaintiff;
i.    If the Plaintiff possesses other liens against the Property, they are not merged with the
      Mortgage being foreclosed herein and that Plaintiff, as a subordinate lien holder, be allowed to
      share in any surplus proceeds resulting from the sale;
j.    That the Court award Plaintiff additional relief that is just, equitable and proper.

Dated: Bay Shore, New York
       November 14, 2022


                                             Frenkel, Lambert, Weiss, Weisman & Gordon, LLP

                                             By:
                                                     Todd Falasco
                                                     Attorneys for Plaintiff
                                                     53 Gibson Street
                                                     Bay Shore, New York 11706
                                                     (631) 969-3100
                                                     Our File No.: 01-096248-F00
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                               CERTIFICATION BY ATTORNEY


       Todd Falasco, an attorney duly admitted to practice law before the Courts of the State of
New York and duly admitted in the Northern District, an attorney with the firm of Frenkel,
Lambert, Weiss, Weisman, & Gordon, LLP, attorneys for the Plaintiff herein, pursuant to Uniform
Rule Section 130-1.1-a, states as follows:

        I hereby certify, under the penalty of perjury and as an officer of the Court, that, to the best
of my knowledge, information and belief, formed after an inquiry reasonable under the
circumstances, the presentation of the within paper or the contentions therein are not frivolous as
defined in subsection (c) of section 130-1.1, including that the substance of the factual statements
therein are not false.


Dated: Bay Shore, New York
       November 14, 2022
                                                Frenkel, Lambert, Weiss, Weisman, & Gordon, LLP


                                                Todd Falasco
                                                Attorneys for Plaintiff
                                                53 Gibson Street
                                                Bay Shore, New York 11706
                                                (631) 969-3100
                                                Our File No.: 01-096248-F00
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                                                       Schedule A


                                                    LEGAL DESCRIPTION


All that piece, parcel of land, situate, lying and being in the County of Broome, Town of Binghamton, State of New York.

All that tract or parcel of land situate in the City of Binghamton, County of Broome and State of New York, and being Lot
No. 62 in "Moeller Place" recorded in Broome County Book of Maps 1, page 125. Said lot is on the west side of Howard
Avenue and is fifty feet wide front and rear and extends westward from the west line of said Avenue one hundred and
fifty-five feet.

This being the same property conveyed by deed from John Sejan, Peter Regulski and Matthew Regulski to Joshua P.
Burke, dated 7/27/2018 and recorded in the office of the Clerk of Broome County, New York, in Deed Book D2574,
Page 197.
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                                Schedule B


Party Name             State of Citizenship              Description
                       For purposes of diversification

Joshua P. Burke        New York                          Owner/Mortgagor/Obligor
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                         Schedule C
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                         Schedule E
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